       Case 1:21-cr-00035-EGS Document 112 Filed 09/13/21 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA              )
                                      )
                 v.                   )   Case No. 21-CR-35/3:21-mj-02956
                                      )   EMMET G. SULLIVAN
RONALD COLTON MCABEE                  )   Judge, United States District Court

              MOTION TO EXTEND DEADLINE TO FILE RESPONSE


      The accused, Ronald Colton McAbee respectfully moves this Court to extend

by two days his deadline to respond to the government’s Motion for Emergency

Stay and for Review and Appeal of Release Order. Counsel believes that, in order

to properly defend the Magistrate Judge’s decision at the detention hearing, it is

necessary to have a copy of that decision. Counsel has ordered the expedited

transcription of that decision, and expects to have it tomorrow, Tuesday, September

14, 2021. Accordingly, it is respectfully requested that the Court extend the

response deadline until Wednesday, September 15, 2021.




                                      Respectfully prayed and submitted,




                                      /s/ Isaiah S. Gant
                                      ISAIAH S. GANT (BPR# 025790)
       Case 1:21-cr-00035-EGS Document 112 Filed 09/13/21 Page 2 of 2




                                       Assistant Federal Public Defender
                                       810 Broadway, Suite 200
                                       Nashville, TN 37203
                                       615-736-5047

                                       Attorney for Ronald C. McAbee



                             CERTIFICATE OF SERVICE

      I hereby certify that on September 13, 2021, I electronically filed the foregoing
Motion to Extend Deadline to File Response with the U.S. District Court Clerk by using
the CM/ECF system, which will send a Notice of Electronic Filing to the following:
Colleen Kukowski, Assistant United States Attorney, Judiciary Center, 555 4th St.
N.W., Washington DC 20530, this 13 day of September, 2021.



                                       /s/ Isaiah S. Gant
                                       ISAIAH S. GANT




                                           2
